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  March 10, 2025

  Honorable Kiyo Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:     United States v. Greebel, 15-CR-0637 (KAM)

  Dear Judge Matsumoto:

          We represent Travere Therapeutics, Inc., the successor in interest to Retrophin, Inc., in the above-
  captioned matter. We write pursuant to the Court’s February 21, 2025, Order inviting Travere to be heard
  on the parties’ jointly-proposed stipulations and orders of garnishment (the “Stipulations”). Dkt. 804. As
  noted in the Order, Mr. Greebel’s 2018 conviction included mandatory restitution of $10,447,979.00 in favor
  of Retrophin, the victim of Mr. Greebel’s fraud. After Mr. Greebel’s conviction, Retrophin rebranded as
  Travere.

           As an initial matter, Travere does not take any position on whether and to what extent liquidation
  of the defendant’s retirement accounts creates federal and/or state tax obligations or penalties. Further, as
  a general matter, the Mandatory Victims Restitution Act prioritizes private victim restitution orders over
  payments to the United States, stating that “in any case in which the United States is a victim, the court
  shall ensure that all other victims receive full restitution before the United States receives any restitution.”
  18 U.S.C. § 3664(i); see also U.S. v. Steel, 2012 WL 5879143, at *3 (E.D.N.Y. Nov. 21, 2012) (Garaufis, J.)
  (directing that the defendant’s assets “shall first be directed to his outstanding restitution obligations” prior
  to meeting forfeiture obligations); U.S. v. Cohan, 988 F.Supp.2d 323, 328 (E.D.N.Y. 2013) (Block, J.)
  (same). Even where the relevant government debt arises outside of the criminal matter (such as in the
  context of tax payments), courts have held that restitution victims must be fully compensated before such
  debt is paid, at least where the restitution obligation arose first in time. U.S. v. de Cespedes, 2014 WL
  8389151 at *4 (S.D. Fla. 2014).

           This general principle notwithstanding, counsel for Mr. Greebel has represented, including in a
  submission to this Court, that the forced liquidation of his retirement accounts could result in Mr. Greebel
  himself having to pay substantial out of pocket taxes or penalties, and that the settlement was reached with
  this possibility in mind. Additionally, in its recent submission, the Government suggests that liquidation of
  the defendant’s retirement accounts “could potentially” create tax liability for the garnishees themselves.
  Dkt. 806. As such, and although the Government should ordinarily not compensate itself (including another
  government agency) prior to making victims whole, Travere does not object to the proposed settlement
  insofar as it was reached in order to avoid (i) Mr. Greebel owing taxes or penalties occasioned exclusively
  by the liquidation of his accounts; and/or (ii) the garnishees owing taxes or penalties for the same reason.
  The Stipulations earmark 40% of Mr. Greebel’s retirement account funds toward federal and state tax
  authorities. To the extent that this amount winds up exceeding the tax liability created by the forced
  liquidation of Mr. Greebel’s accounts, that excess should be returned and used to satisfy his remaining


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  restitution obligation, and not applied to any other tax debt Mr. Greebel may owe. In order to make this
  clear, Travere has proposed certain edits to the Stipulations to the parties.

            Travere has no other objections to the Stipulations and expresses its gratitude to the Court for
  inviting it to be heard.


  Sincerely,


  /s/ Ian Shapiro

  Ian Shapiro



  /s/ Russell Capone

  Russell Capone (Pro Hac Vice pending)




  cc:     All Counsel of Record via ECF




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